     Case 3:17-cv-01617-LAB-BLM Document 14 Filed 12/12/17 PageID.1008 Page 1 of 2



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8                                   UNITED STATES DISTRICT COURT

9                                 SOUTHERN DISTRICT OF CALIFORNIA

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                                                             Case No.: 17cv1617-LAB (BLM)
11    JON PAUL FANLO,

12                                          Plaintiff,       ORDER SETTING BRIEFING
                                                             SCHEDULE AND HEARING DATE ON
13    v.                                                     CROSS-MOTIONS FOR SUMMARY
                                                             JUDGMENT
14    NANCY A. BERRYHILL, Acting Commissioner
      of Social Security,
15
                                         Defendant.
16

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18          Plaintiff has filed a complaint in this matter seeking judicial review of the denial of his
19    application for social security disability and supplemental security income benefits. ECF No. 1.
20    Defendant’s answer and the administrative record were filed recently. ECF Nos. 12 and 13.
21          Pursuant to Rule 16.1(e)(3) of the Local Rules, an Early Neutral Evaluation/Case
22    Management Conference is not required to be held in this case. Accordingly, this order sets out
23    a briefing schedule and hearing date for cross-motions for summary judgment.
24          Plaintiff must file a motion for summary judgment on or before January 2, 2018.
25    Defendant must file any opposition and cross-motion on or before February 2, 2018. Plaintiff
26    must file any reply to Defendant's opposition and an opposition to Defendant's cross-motion for
27    summary judgment by February 16, 2018. Defendant must file any reply brief on or before
28    March 2, 2018.

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     Case 3:17-cv-01617-LAB-BLM Document 14 Filed 12/12/17 PageID.1009 Page 2 of 2



1           A hearing date of March 9, 2018 at 10:00 a.m. is assigned. Unless the Court directs

2     otherwise in advance, pursuant to Local Rule 7.1(d)(1), the matter will be resolved without oral

3     argument and no personal appearances on the hearing date should be made.

4           IT IS SO ORDERED.

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6     Dated: 12/12/2017

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